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UNITED STATES DISTRICT COURT
SOUTHERN DISTRICT OF NEW YORK

 UNITED STATES OF AMERICA

 -v.-                                                     S2 24 Cr. 542 (AS)

 SEAN COMBS,
 a/k/a “Puff Daddy,”
 a/k/a “P. Diddy,”
 a/k/a “Diddy,”
 a/k/a “PD,”
 a/k/a “Love,”
                  Defendant.




                  THE GOVERNMENT’S MOTION IN LIMINE
         TO PROTECT THE IDENTITIES OF CERTAIN VICTIM-WITNESSES




                                         MATTHEW PODOLSKY
                                         Acting United States Attorney
                                         Southern District of New York
                                         26 Federal Plaza
                                         New York, New York 10278



Maurene Comey
Meredith Foster
Emily A. Johnson
Christy Slavik
Madison Reddick Smyser
Mitzi Steiner
Assistant United States Attorneys
Of Counsel
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                                PRELIMINARY STATEMENT

       The Government respectfully submits this memorandum of law in support of its motion,

pursuant to the Crime Victims’ Rights Act, that the Court take certain measures at trial to protect

the dignity and privacy of victims. See 18 U.S.C. § 3771(a)(8). The Government currently expects

that Victim-1, Victim-2, Victim-3, and Victim-4 will testify at trial. Victim-1



                                                      She is prepared to testify under her own name.

Vicitm-2, Victim-3, and Victim-4

    have asked that their identities not be revealed to the press or the public.1

       To protect their privacy, the Government respectfully requests that the Court take certain

narrowly tailored measures at trial that are consistent with the protections multiple victims of sex

crimes have been afforded in recent federal trials within this Circuit. Specifically, the Government

requests that (1) Victim-2, Victim-3, and Victim-4 be referred to at trial using only pseudonyms;

(2) the Court preclude the defense from eliciting personally identifying details of those witnesses;

and (3) the Court seal exhibits that contain the first and/or last names of Victim-2, Victim-3, and

Victim-4, with redacted versions to be made available to the public. This case has already received

an exceptional amount of media coverage, which will presumably only increase as trial proceeds.

Permitting these measures will prevent unnecessary public disclosure of the victims’ identities,

and the harassment from the media and others, undue embarrassment, and other adverse

consequences that would almost certainly follow if these women were forced to reveal their true

names publicly at trial.



1
 To be clear, the victims’ identities are already known to the defendant and, as discussed further
below, will be known to the jury.

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                                          BACKGROUND

      I.        The Indictment

           On March 6, 2025, the grand jury returned Indictment S2 24 Cr. 542 (AS) charging the

defendant in three counts. Count One charges racketeering conspiracy, in violation of 18 U.S.C.

§ 1962(d). Count Two charges sex trafficking, in violation of 18 U.S.C. §§ 1591 and 2. Count

Three charges interstate transportation to engage in prostitution, in violation of 18 U.S.C.

§§ 2421(a) and 2. (Dkt. No. 169 (the “Indictment’)). As charged in the Indictment, the defendant,

often assisted by other members and associates of the racketeering enterprise, engaged in

numerous offenses constituting racketeering activity, including, as relevant here, sex trafficking,

forced labor, other acts of sexual and physical violence, and obstruction. (Id. ¶¶ 1-14).

           In particular, Count One alleges that, as part of a pattern of racketeering activity, the

defendant sex trafficked three victims (“Victim-1,” “Victim-2,” and “Victim-3”) through force,

fraud, and coercion. (Id. ¶ 12(a)). The defendant coerced all three victims to participate in highly

orchestrated sexual encounters that lasted for multiple hours and sometimes full days without

sleep. (Id. ¶ 12(a)). Some of these commercial sex acts involved male escorts and were referred

to by the defendant as “Freak Offs.” (Id. ¶ 12(b)). Count One also alleges that the defendant

obtained the forced labor of all three of those same victims during the course of commercial sex

acts and obtained the forced labor of one of his employees (“Victim-4”), including sexual activity

with the defendant, through force and threats of serious harm. (Id. ¶ 12(i)).

     II.        Relevant Victim Background

           A.      Victim-2

           The Government expects Victim-2 will testify that

                                                                                                The

Government expects Victim-2 will testify that


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she will endure when testifying about such deeply personal topics, Victim-2 has asked that she be

permitted to testify under a pseudonym.

       B.     Victim-3




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                                                                          To protect her privacy

and the privacy of her family                             , prevent harassment, prevent adverse

impact on her ability to earn an income, and minimize the humiliation she will endure when

testifying about such deeply personal topics, Victim-3 has asked that she be permitted to testify

under a pseudonym.

       C.     Victim-4




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Delaware v. Van Arsdall, 475 U.S. 673, 679 (1986))); Fed. R. Evid. 611 (imposing limits on the

scope of cross-examination).

       In the context of the disclosure of witness identifying information, the Second Circuit has

identified two primary interests of defendants: “(1) obtaining information needed for in-court and

out-of-court investigation of the witness; and (2) enabling defense counsel to elicit information

that might be relevant to the jury’s deliberations as to the credibility or knowledgeability of the

witness.” United States v. Marcus, No. 05 Cr. 457 (ARR), 2007 WL 330388, at *1 (E.D.N.Y. Jan.

31, 2007) (citing United States v. Marti, 421 F.2d 1263, 1266 (2d Cir. 1970)), aff’d, 628 F.3d 36,

45 n.12 (2d Cir. 2010).

       If the Government provides a reason to “limit disclosure of identifying information in open

court,” the defendant must “demonstrate a ‘particularized need’ for disclosure . . . which the court

weighs against the risks to the witness.” Id. (quoting United States v. Bennett, 409 F.2d 888, 901

(2d Cir. 1969)); see also United States v. Urena, 8 F. Supp. 3d 568, 572-73 (S.D.N.Y. 2014)

(permitting an undercover law enforcement officer to testify under a pseudonym, after balancing

the relevant interests and noting the defendants “fail[ed] to demonstrate the materiality of UC-

188’s real name to any issue of guilt or innocence”). Such reason “may be that the answer may

subject the witness to reprisals or that the question is being used to humiliate or annoy the witness.”

Marti, 421 F.2d at 1266.

       “[T]here is no absolute right of an accused to have a jury hear a witness’s true name and

address.” Clark v. Ricketts, 958 F.2d 851, 855 (9th Cir. 1991); see also United States v. Raniere,

No. 20 Cr. 3520, 20 Cr. 3789, 2022 WL 17544087, at *6 (2d Cir. Dec. 9, 2022) (unpublished

summary order) (“Prior to the commencement of trial, upon motion by the Government, the

District Court ordered that testifying victims were to be identified by a nickname, first name, or




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pseudonym only . . . during trial. Raniere argues that this decision violated his rights under the

Confrontation Clause of the Sixth Amendment and his due process rights under the Fifth

Amendment. We disagree.” (internal quotation marks and citations omitted)). Strong public

interests support limiting public disclosure of victim identities and other sensitive information.

The Crime Victims’ Rights Act, 18 U.S.C. § 3771, requires courts to implement procedures to

ensure that crime victims are accorded, among other rights, “[t]he right to be reasonably protected

from the accused,” and “[t]he right to be treated with fairness and with respect for the victim’s

dignity and privacy.” Id. §§ (a)(1), (a)(8). Moreover, “the public has a strong interest in protecting

the identities of sexual assault victims so that other victims will not be deterred from reporting

such crimes.” Doe on behalf of Doe No. 1 v. Nygard, No. 20 Civ. 6501 (ER), 2020 WL 4890427,

at *3 (S.D.N.Y. Aug. 20, 2020) (internal quotation marks and ellipsis omitted) (quoting Doe No.

2 v. Kolko, 242 F.R.D. 193, 195 (E.D.N.Y. 2006)). This public interest becomes “only stronger”

when there are “sprawling allegations of widespread sexual abuse” against a defendant. Id.

       Given these strong public interests and the explicit nature of testimony involved in sex

abuse cases, victims in such cases often testify using only pseudonyms or their first name. See,

e.g., Raniere, 2022 WL 17544087, at *6-7 (affirming district court’s decision to permit victims in

racketeering and sex trafficking prosecution to testify using first names, nicknames, or

pseudonyms); United States v. Kidd, 385 F. Supp. 3d 250, 255 (S.D.N.Y. 2019) (permitting minor

victims to testify using pseudonyms); United States v. Terranova, 750 F. Supp. 3d 15, 26-29

(E.D.N.Y. 2024) (permitting minor victims, their family members, and undercover officer to

testify using pseudonyms); Nov. 1, 2021 Tr. at 5:24-13:23, United States v. Maxwell, No. 20 Cr.

330 (AJN) (S.D.N.Y.), Dkt. No. 456 (permitting minor victims and their family members to testify

using a pseudonym or first name); Order at 19-21, United States v. Kelly, No. 19 Cr. 286 (E.D.N.Y.




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Nov. 4, 2021), Dkt. No. 255 (permitting victims to testify using a pseudonym, nickname, or first

name); United States v. Zhong, No. 16 Cr. 614 (DLI), 2018 WL 6173430, at *1-2 (E.D.N.Y. Nov.

26, 2018) (permitting victims in forced labor trial to testify using pseudonyms); Order at 2-3,

United States v. Martinez, No. 17 Cr. 281 (ERK) (E.D.N.Y. Dec. 18, 2017), Dkt. No. 34

(permitting victim to testify using pseudonym where the “case has already received significant

national and local press coverage”); United States v. Corley, No. 13 Cr. 48 (AJN), 2016 WL

9022508, at *3-4 (S.D.N.Y. Jan. 15, 2016) (noting that “Judge Patterson . . . permitted the minor

victims to testify under a pseudonym at trial” and denying the pro se defendant’s request for the

surnames of the minor victims for his appeal); United States v. Graham, No. 14 Cr. 500 (ER), 2015

WL 6161292, at *10 (S.D.N.Y. Oct. 20, 2015) (permitting victims to testify using their first names

only).

         Specifically, “the practice of allowing alleged victims of sexual abuse to testify under a

pseudonym has been widely permitted because requiring alleged victims to publicly provide their

names could chill their willingness to testify for fear of having their personal histories publicized

and may cause further harassment or embarrassment.” United States v. Daskal, No. 21 Cr. 110

(NGG) (LB), 2023 WL 9424080, at *3 (E.D.N.Y. July 12, 2023) (brackets and internal quotation

marks omitted); see also Raniere, 2022 WL 17544087, at *7 (affirming use of pseudonyms where

“the District Court reasoned that requiring victims to provide their names in public could chill their

willingness to testify, for fear of having their personal histories publicized” (internal quotation

marks omitted)). Victims in sex abuse cases suffer from “likely adverse personal, professional

and psychological consequences of publicly linking their identities to their past” experiences.

United States v. Paris, No. 06 Cr. 64 (CFD), 2007 WL 1484974, at *2 (D. Conn. May 18, 2007).

“In light of the explicit nature of the conduct that the witnesses will be testifying about,” victims




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have “legitimate” fears “of harassment by the media” and “loss of employment potentially

resulting from trial publicity.” Marcus, 2007 WL 330388, at *1. Equally, because of the explicit

nature of the offense conduct, which may require victims to testify about “degrading and

humiliating treatment by the defendant,” revealing victim identities “could chill the willingness of

other alleged victims of sex crimes to come forward.” Order at 2, Martinez, No. 17 Cr. 281 (ERK)

(E.D.N.Y. Dec. 18, 2017), Dkt. No. 34; see also United States v. Maxwell, 20 Cr. 330 (AJN), 2021

WL 5967913, at *1 (S.D.N.Y. Dec. 15, 2021). These interests significantly outweigh any defense

interest, especially where the defense knows the true identities of victims and is able to mount their

defense. See Order at 2-3, Martinez, No. 17 Cr. 281 (ERK) (E.D.N.Y. Dec. 18, 2017), Dkt. No.

34 (“[D]efendant has not identified any ‘particularized need’ for the disclosure of Jane Doe’s

identity information in open court. Defendant already knows who Jane Doe is, and will not be

prevented from mounting a defense in the event that she is referred to only as Jane Doe.”).3

       Indeed, in a recent highly publicized case in the Southern District of New York, Judge

Nathan granted a motion to permit victims to testify under pseudonyms and redact their real

identities from trial exhibits where the alleged victims were expected to give highly sensitive and

personal testimony concerning illegal sexual abuse. See Maxwell, 2021 WL 5967913, at *1. The

Court cited two primary reasons for its decision. First, the court found that because of the

“sensitive and inflammatory nature of the conduct alleged,” pseudonyms were necessary to protect

the victims “right to be treated with fairness and with respect for the victim’s dignity and privacy”

under the Crime Victims’ Rights Act. Id. (quoting 18 U.S.C. § 3771(a)(8)). Second, the Court



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  Courts have also permitted the Government to call witnesses using pseudonyms or using only
their first names in other types of cases. See, e.g., United States v. Schulte, 436 F. Supp. 3d 698,
706 (S.D.N.Y. 2020) (permitting use of pseudonyms in national security case); United States v.
Hernandez, No. 12 Cr. 809 (PKC), 2013 WL 3936185, at *3 (S.D.N.Y. July 29, 2013) (permitting
use of pseudonym for undercover agent in narcotics case).


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noted the strong public policy reasons for the use of pseudonyms: “if alleged victims of abuse were

subject to publicity, harassment, and embarrassment, other alleged victims of sex crimes may be

deterred from coming forward to report abuse.” Id. (citation and internal quotation marks

omitted).4

       In two similarly publicized cases in the Eastern District of New York, the district court

judges also permitted sexual abuse victims to testify using pseudonyms or using only their first

names. In United States v. Raniere, No. 18 Cr. 204 (E.D.N.Y.), the Government moved to allow

testifying victims to testify “under a nickname, first name, or pseudonym only, and to not be

required to disclose uniquely identifying information,” such as “addresses, names of family

members, or exact places of education or employment.” Memorandum & Order at 32, Raniere,

No. 18 Cr. 204 (E.D.N.Y. May 6, 2019), Dkt. No. 622. In granting the motion, the Court explained

that “requiring victims of sex trafficking . . . and other crimes to provide their names in public

could chill their willingness to testify,” and “would only cause further embarrassment and

humiliation, given the inflammatory nature of the conduct alleged.” Id. at 32, 35 (citations and

internal quotation marks omitted). It also may “cause other victims to fear seeking help from law

enforcement as that could subject them to further harassment and embarrassment.” Id. (internal

quotation marks omitted). Although the defendant claimed that several victims’ names were




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  Two other judges in this District recently allowed victims of sexual abuse to testify under
pseudonyms at trials that received media attention. During trial in United States v. Paduch, 23 Cr.
181 (RA), which took place between April 24, 2024 and May 5, 2024, Judge Abrams permitted
thirteen different witnesses—who were either victims of sexual abuse or the relatives of victims—
to testify under pseudonyms. Similarly, during trial in United States v. Hadden, 20 Cr. 468 (RMB),
which took place between January 4, 2023 and January 24, 2023, Judge Berman permitted eight
victims to testify under pseudonyms. In those cases, the defense consented to the use of
pseudonyms, so the practice’s permissibility was not litigated, but both cases demonstrate that it
is entirely feasible to efficiently conduct a complex trial with documentary evidence while also
allowing multiple victims to testify under pseudonyms.

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already public and that some victims had come forward by choice, Judge Garaufis found those

facts “irrelevant,” explaining “just because some victims’ names are publicly available does not

mean that the details of their experiences are already available,” and “the choice of a victim to

publicly discuss a crime is not analogous to being put on the stand about it, as, in court, the victim

will not be able to choose how and to what level of detail she discusses the crime.” Id. at 34 n.17.

       Judge Donnelly reached a similar result in United States v. Robert Kelly, 19 Cr. 286

(AMD), and granted the Government’s similar motion in limine to permit certain victims to testify

using pseudonyms or their first names and prevent public disclosure of certain identifying details.

Mot. at 1, Kelly, No. 19 Cr. 286 (E.D.N.Y. July 10, 2021), Dkt. No. 121. In its motion, the

Government explained that two of the victims had “not spoken publicly about their experiences,”

and while a third had done so, “her anticipated testimony at trial will be more fulsome than her

prior public disclosures and will include sensitive information that has not been previously publicly

revealed.” Id. at 11. Additionally, the Government noted that the defendant’s case had received

widespread coverage in the media which was expected to continue throughout the trial due to the

defendant’s “career as a well-known musician” and the nature of the charges against him. Id. at

10-11. In granting the motion, Judge Donnelly found the Government “identified legitimate and

compelling reasons” for a particular victim-witness to testify under pseudonym because she “was

expected to . . . testify in explicit detail about degrading and humiliating treatment,” “[t]he trial

garnered a lot of media attention,” and consequently, “there was a significant risk of humiliation

and reprisals.” Order at 20, Kelly, No. 19 Cr. 286 (E.D.N.Y. Nov. 4, 2021), Dkt. No. 255. The

Court also noted that “[t]he defendant did not identify a clear, particularized need to have [the

victim-witness]’s name disclosed publicly,” especially where he “knew who [the victim-witness]




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is, and investigated her background,” and where “the Court gave an instruction that the use of

nicknames or pseudonyms is common in cases that have garnered media attention.” Id.

                                             DISCUSSION

           As discussed above, the Government expects the victims in this case will testify in explicit

detail about highly sensitive, personal experiences involving sex acts caused by force, fraud, and/or

coercion. The limited protections the Government requests on their behalf are reasonable,

necessary, and narrowly tailored to protect the victims’ well-being, prevent undue embarrassment

and other adverse consequences, including loss of employment, and prevent the victims from being

harassed by the press and others. This request is by no means extraordinary. As set out above, it

is entirely consistent with the decisions of many other district judges within this Circuit who have

recently permitted victims of sex crimes to testify under pseudonym to protect their privacy,

especially in high-profile cases such as this one. There is no reason for this Court to deviate from

that well-established practice here.

      I.      The Court Should Permit Victim-2, Victim-3, and Victim-4 to Testify Under
              Pseudonym to Avoid Unnecessary Harassment, Humiliation, Social Stigma, and
              Professional Consequences

           The Government requests that Victim-2, Victim-3, and Victim-4 be permitted to testify

under pseudonyms and to direct that others refer to those individuals by their pseudonyms

throughout trial.




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Accordingly, the only way to truly protect their privacy is to follow the example of other courts in

this Circuit and allow these three victims to testify under pseudonyms.5

       Since the defendant’s arrest, this case has garnered significant media attention, and the

Government expects that members of the media will attend and report on the trial. The news

coverage has focused on victims in the case, documenting new victims added to the Indictment

and details of the conduct alleged.6 Under these circumstances, it is highly likely that, if stated

publicly in open court, the names of these three victims will be widely publicized. That publicity

imposes real costs on the victims and the public.

       First, publicizing the names of these three victims will cause them significant

embarrassment, anxiety, and social stigma in light of their anticipated testimony. The Government

expects these three victims will each testify in explicit detail about the defendant’s physical and

sexual abuse. These details will undoubtedly be “inflammatory” in light of the “nature of the

conduct alleged.” Order at 32, Raniere, No. 18 Cr. 204, Dkt. No. 622. Given the significant press



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  While it is possible that the victims may be recognized on sight by members of the press and
public, that risk is substantially smaller than the use of their names in court. In any event, it is
likely—especially based on past experience in similar cases in this District—that members of the
press would refrain from revealing victim identifying information if the Court ordered that
information protected at trial.
6
  See, e.g., “Prosecutors Add Two More Women to Sean Combs Case,” BBC (Jan. 31, 2025),
available at https://www.bbc.com/news/articles/c5ye9lgnk5zo; “Prosecutors List Two New
Victims, Say Sean ‘Diddy’ Combs Dangled Woman Off Balcony,” L.A. Times (Jan. 31, 2025),
available at        https://www.latimes.com/california/story/2025-01-31/sean-diddy-combs-new-
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attention that this trial will likely garner, the details of each victim’s testimony will likely appear

in the news and on the internet, but the Court can ensure that they will not be publicized side-by-

side with the victim’s true name. See Order at 2-3, Martinez, No. 17 Cr. 281, Dkt. No. 34 (“Th[is]

case has already received significant national and local press coverage. Revealing Jane Doe’s

identity would likely cause her anxiety and risk social stigma.”).



                                                                   . See Terranova, 750 F. Supp. 3d

at 27-28 (concluding victim did not “waive[] his right to anonymity by publicly discussing the case

on a social media platform where he had thousands of followers and used his real name” because

his “trial testimony has the potential to expose him to a far greater degree of embarrassment and

stigma than his social media post might have”); Order at 34 n.17, Raniere, No. 18 Cr. 204, Dkt.

No. 622 (“[T]he choice of a victim to publicly discuss a crime is not analogous to being put on the

stand about it, as, in court, the victim will not be able to choose how and to what level of detail

she discusses the crime.”). Here,




        . See Nov. 1, 2021 Tr. at 9:13-9:25, Maxwell, No. 20 Cr. 330, Dkt. No. 456 (granting

motion to allow victims to testify under pseudonym, even where at least one victim had previously

spoken publicly about the case).

       Second, the publicity surrounding this case increases the personal and professional

consequences to the victims for testifying. Victims have expressed serious concerns to the

Government about the risks that association with this case will pose to their personal relationships

and future employment.       Making that association widely public requires the victims to be




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associated with the graphic details of their experiences, not just in the general public

consciousness, but with their friends, families, colleagues, and prospective employers.

        Third, the heightened publicity of this case increases the risk that the victims will be

harassed by the press and public if identified by their real names. In light of the significant media

attention this case has generated, it is likely that the victims will be approached and harassed by

members of the press and the public after their testimony. Publicizing their names will subject

them to unwanted attention at the time they are testifying about some of the most difficult moments

of their lives in a criminal sex abuse trial.7

        Taken together, requiring these three victims to testify under their true names imposes

serious costs on them. It is inconsistent with the Crime Victims’ Rights Act’s exhortation that

victims are to be treated with respect for their “dignity and privacy.” 18 U.S.C. § 3771(a)(8). And

requiring victims of sex crimes to provide their names in public could chill their willingness to

testify, for fear of having their personal histories publicized as they rebuild their lives. See Order

at 2, Martinez, No. 17 Cr. 281, Dkt. No. 34. It could also cause other victims to avoid seeking

help from law enforcement because of fear that coming forward could subject them to further

harassment and embarrassment. Cf. Fed. R. Evid. 412 Advisory Committee Note (explaining that,

by protecting “the alleged victim against the invasion of privacy, potential embarrassment and

sexual stereotyping that is associated with public disclosure of intimate sexual details,” the rule




7
  The Government would consent to an appropriate jury instruction explaining that the reason for
the precautions is “regard for the witnesses’ and non-witness victims’ privacy,” and that no
inference should be drawn against the defendant because of those precautions. Order at 33-34,
Raniere, No. 18 Cr. 204, Dkt. No. 622 (“[T]he court is confident that any prejudice can be cured
with a jury instruction explaining that the reason for the anonymity is regard for the witnesses’ and
non-witness victims’ privacy.”). As the district court in Raniere explained, “[g]iven the potentially
embarrassing nature of the allegations, and the media attention thus far, such an explanation will
certainly seem plausible to the jury.” Id. at 34 (footnote omitted).


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“encourages victims of sexual misconduct to . . . participate in legal proceedings against alleged

offenders”).

     II.      The Use of Pseudonyms is Narrowly Tailored to the Particular Privacy Interests
              of Victim-2, Victim-3, and Victim-4

           The Government’s request is narrowly tailored to the privacy interests of Victim-2, Victim-

3, and Victim-4. As part of this request, the Government asks that the Court: (1) limit references

at trial to these three victims to their pseudonyms, including in jury addresses and examination of

witnesses; (2) preclude the defense from eliciting personal identifying information for these three

victims, including their addresses, the names of their family members, or the details of their current

employment; and (3) seal exhibits containing the names of Victim-2, Victim-3, and Victim-4.8

           The use of these limited precautions—all common in similar cases in this Circuit—will not

curtail the defendant’s due process rights. As an initial matter, the Government expects the jury

to learn the true names of these three victims at trial.         The Government intends to offer

documentary evidence that would corroborate the testimony of the victims and which contain the

victims’ true names. Thus, while those names will remain hidden from the public, they will be

revealed to the jury.9 Similarly, during voir dire, prospective jurors can be given a sheet of paper



8
  For the same reasons, any courtroom sketch artists should be precluded from drawing the faces
of victims. See, e.g., Nov. 18, 2021 Order, Maxwell, 20 Cr. 330 (AJN) (S.D.N.Y.), Dkt. No. 471
(“[C]ourtroom sketch artists whether in the courtroom or overflow rooms may not draw exact
likenesses of the Protected Witnesses.”); May 6, 2019 Text Order, Raniere, 18 Cr. 204 (“Sketch
artists will be allowed in the courtroom and overflow room with their supplies. They may,
however, not draw exact likenesses of jurors or witnesses other than co-defendants should they
testify . . . .”).
9
 This can be accomplished simply. For instance, the jury can learn a victim’s name by displaying
a document containing that victim’s name for the witness and the jury—but not the public—and
asking the victim whether the name on the document is her true name. Indeed, that practice was
successfully and efficiently followed in this District during the testimony of numerous witnesses
during trials in United States v. Maxwell, 20 Cr. 330 (AJN), United States v Hadden, 20 Cr. 468
(RMB), and United States v. Paduch, 23 Cr. 181 (RA).


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with the true names of the protected witnesses and asked whether they know any individuals on

the paper. Accordingly, the Court and parties may screen for juror bias without requiring the Court

or any juror to state a protected name in open court.

       The requested protections also will not compromise the defendant’s confrontation rights in

any way. The defendant already knows the true identities of Victim-2, Victim-3, and Victim-4,

and is fully able to complete an investigation in advance of trial. There is no need—much less a

particularized need—for the victims’ true names or other personal identifying information to be

stated in open court to accomplish that purpose. The use of these victims’ real names will not add

anything to their testimony or enable the defense to more effectively cross-examine them.

See Daskal, 2023 WL 9424080, at *5 (finding anonymity appropriate where defendant already

knew alleged victim’s name, noting defendant “is free to undertake whatever research he sees fit

in advance of trial”); see also Kidd, 385 F. Supp. 3d at 255 (“[T]he right to know the victims’

identity is separate from whether the victims may testify at trial anonymously.”).

       Similarly, the sealing of exhibits containing the names of Victim-2, Victim-3, and Victim-

4, is also appropriate. Although “the public has an especially strong right of access to evidence

introduced in trials,” United States v. Amodeo, 71 F.3d 1044, 1049 (2d Cir. 1995) (internal

quotation marks omitted), it “is not absolute,” Nixon v. Warner Commc’ns, Inc., 435 U.S. 589, 598

(1978). See United States v. Graham, 257 F.3d 143, 149 (2d Cir. 2001). Indeed, “subject matter

[that] is traditionally considered private rather than public” will weigh “heavily against access.”

Amodeo, 71 F.3d at 1051. This includes certain “[f]inancial records . . . , family affairs, illnesses,

embarrassing conduct with no public ramifications, and similar matters . . . .” Id. “[T]he

‘venerable’ privacy-interest exception to the presumption of access exists to avert ‘cater[ing] ‘to a

morbid craving for that which is sensational and impure.’’” United States v. Cohen, 366 F. Supp.




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3d 612, 625-26 (S.D.N.Y. 2019) (brackets in original) (quoting Amodeo, 71 F.3d at 1051). The

Government’s sealing request is narrowly tailored to prevent public disclosure only of the

identifying information in those exhibits which would identify Victim-2, Victim-3, and Victim-4.

Any other result would defeat the purpose of permitting these victims to testify using pseudonyms.

See Paris, 2007 WL 1484974, at *2 (concluding the interest in protecting victim identities

outweighed the public interest in access to information because “the public and press will be able

to hear the Jane Does’ and Minors’ testimony in full”).10

       In sum, the identifying information the Government seeks to limit in open court,

specifically, the names and identifying information about Victim-2, Victim-3, and Victim-4, is

irrelevant to their testimony. There is a substantial risk, however, that disclosure of such

information will identify the victims with particularity, and thus subject them to harassment,

retaliation, and embarrassment, or additional adverse consequences. Accordingly, the Court

should permit these three victims to testify under pseudonyms and preclude the defense from

eliciting testimony regarding their personally identifying information.




10
  For essentially the same reasons, the Government respectfully requests that the Court accept this
memorandum under seal and allow the parties to confer on narrowly tailored redactions of victim-
identifying information to be applied before it is filed publicly on the docket.

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                                         CONCLUSION

       For the foregoing reasons, the Court should permit Victim-2, Victim-3, and Victim-4 to

testify under pseudonyms at trial and should order sealing of exhibits containing identifying

information for those three victims.


                                             MATTHEW PODOLSKY
                                             Acting United States Attorney


                                       By:    /s/ ______________               ___
                                             Maurene Comey / Meredith Foster
                                             Emily A. Johnson / Christy Slavik
                                             Madison Reddick Smyser / Mitzi Steiner
                                             Assistant United States Attorneys
                                             (212) 637-2324/-2310/-2409/-1113/-2381/-2284




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